Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 1 of 54 Page
                                 ID #:32562




                 EXHIBIT 56
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 2 of 54 Page
                                 ID #:32563




                                EXHIBIT 56
                                   984
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 3 of 54 Page
                                 ID #:32564




                                EXHIBIT 56
                                   985
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 4 of 54 Page
                                 ID #:32565




                                EXHIBIT 56
                                   986
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 5 of 54 Page
                                 ID #:32566




                                EXHIBIT 56
                                   987
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 6 of 54 Page
                                 ID #:32567




                                EXHIBIT 56
                                   988
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 7 of 54 Page
                                 ID #:32568




                                EXHIBIT 56
                                   989
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 8 of 54 Page
                                 ID #:32569




                                EXHIBIT 56
                                   990
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 9 of 54 Page
                                 ID #:32570




                                EXHIBIT 56
                                   991
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 10 of 54 Page
                                 ID #:32571




                                EXHIBIT 56
                                   992
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 11 of 54 Page
                                 ID #:32572




                                EXHIBIT 56
                                   993
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 12 of 54 Page
                                 ID #:32573




                                EXHIBIT 56
                                   994
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 13 of 54 Page
                                 ID #:32574




                                EXHIBIT 56
                                   995
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 14 of 54 Page
                                 ID #:32575




                                EXHIBIT 56
                                   996
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 15 of 54 Page
                                 ID #:32576




                                EXHIBIT 56
                                   997
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 16 of 54 Page
                                 ID #:32577




                                EXHIBIT 56
                                   998
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 17 of 54 Page
                                 ID #:32578




                                EXHIBIT 56
                                   999
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 18 of 54 Page
                                 ID #:32579




                                EXHIBIT 56
                                  1000
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 19 of 54 Page
                                 ID #:32580




                                EXHIBIT 56
                                  1001
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 20 of 54 Page
                                 ID #:32581




                                EXHIBIT 56
                                  1002
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 21 of 54 Page
                                 ID #:32582




                                EXHIBIT 56
                                  1003
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 22 of 54 Page
                                 ID #:32583




                                EXHIBIT 56
                                  1004
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 23 of 54 Page
                                 ID #:32584




                                EXHIBIT 56
                                  1005
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 24 of 54 Page
                                 ID #:32585




                                EXHIBIT 56
                                  1006
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 25 of 54 Page
                                 ID #:32586




                                EXHIBIT 56
                                  1007
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 26 of 54 Page
                                 ID #:32587




                                EXHIBIT 56
                                  1008
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 27 of 54 Page
                                 ID #:32588




                                EXHIBIT 56
                                  1009
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 28 of 54 Page
                                 ID #:32589




                                EXHIBIT 56
                                  1010
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 29 of 54 Page
                                 ID #:32590




                                EXHIBIT 56
                                  1011
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 30 of 54 Page
                                 ID #:32591




                                EXHIBIT 56
                                  1012
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 31 of 54 Page
                                 ID #:32592




                                EXHIBIT 56
                                  1013
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 32 of 54 Page
                                 ID #:32593




                                EXHIBIT 56
                                  1014
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 33 of 54 Page
                                 ID #:32594




                                EXHIBIT 56
                                  1015
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 34 of 54 Page
                                 ID #:32595




                                EXHIBIT 56
                                  1016
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 35 of 54 Page
                                 ID #:32596




                                EXHIBIT 56
                                  1017
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 36 of 54 Page
                                 ID #:32597




                                EXHIBIT 56
                                  1018
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 37 of 54 Page
                                 ID #:32598




                                EXHIBIT 56
                                  1019
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 38 of 54 Page
                                 ID #:32599




                                EXHIBIT 56
                                  1020
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 39 of 54 Page
                                 ID #:32600




                                EXHIBIT 56
                                  1021
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 40 of 54 Page
                                 ID #:32601




                                EXHIBIT 56
                                  1022
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 41 of 54 Page
                                 ID #:32602




                                EXHIBIT 56
                                  1023
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 42 of 54 Page
                                 ID #:32603




                                EXHIBIT 56
                                  1024
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 43 of 54 Page
                                 ID #:32604




                                EXHIBIT 56
                                  1025
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 44 of 54 Page
                                 ID #:32605




                                EXHIBIT 56
                                  1026
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 45 of 54 Page
                                 ID #:32606




                                EXHIBIT 56
                                  1027
Case 2:10-cv-03633-ODW-RZ   Document 500-10   Filed 10/10/12   Page 46 of 54 Page
                                 ID #:32607




                 EXHIBIT 57
Case 2:10-cv-03633-ODW-RZ       Document 500-10       Filed 10/10/12    Page 47 of 54 Page
                                     ID #:32608




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    9
                             UNITED STATES DISTRICT COURT
   10
              CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
   11
        DC COMICS,                            Case No: CV 10-03633 ODW (RZx)
   12                   Plaintiff,
                                              Hon. Otis D. Wright II, U.S.D.J.
   13        vs.
                                              DEFENDANT IPW, LLC’S
   14   PACIFIC PICTURES CORPORATION; RESPONSE             TO PLAINTIFF DC
                                              COMICS’ FIRST SET OF
   15   IP WORLDWIDE, LLC; IPW, LLC;          INTERROGATORIES
        MARC TOBEROFF, an individual;         Complaint Filed: May 14, 2010
   16   MARK WARREN Peary, as personal        Trial Date: None Set
   17   representative of the ESTATE OF
        JOSEPH SHUSTER; JEAN ADELE
   18   PEAVY, an individual; LAURA
   19   SIEGEL LARSON, individually and as
        personal representative of the ESTATE
   20   OF JOANNE SIEGEL,
   21   and DOES 1-10, inclusive,
   22                  Defendants.
   23

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                                DEFENDANT IPW, LLC’S RESPONSE
                          TO PLAINTIFF’S FIRST SET OF INTERROGATORIES


                                         EXHIBIT 57
                                           1028
Case 2:10-cv-03633-ODW-RZ         Document 500-10        Filed 10/10/12     Page 48 of 54 Page
                                       ID #:32609




  1        Defendant IPW, LLC (“IPW”), by and through its attorneys, responds as
  2 follows to the First Set of Interrogatories dated July 1, 2011 (the “Interrogatories”)

  3 propounded by plaintiff DC Comics (“Plaintiff” or “DC”).
  4                                             I.
  5                               GENERAL OBJECTIONS
  6        IPW objects to the entire set of Interrogatories on each of the following
  7 grounds, and incorporates by reference each of the following objections into its

  8 response to each individual interrogatory within it:
  9        1.     IPW objects to each Interrogatory to the extent it is relevant to the
 10 Fourth through Sixth state law claims for relief in DC’s First Amended Complaint

 11 (“FAC”). IPW contends that its pending anti-SLAPP motion stays discovery

 12 regarding these state law claims. See Cal. Code Civ. Proc. § 425.16(g); Shady Grove

 13 Orthopedic Assocs., P.A. v. Allstate Ins. Co., 130 S. Ct. 1431, 1452 (2010) (Stevens,

 14 J., concurring); Batzel v. Smith, 333 F.3d 1018, 1024 (9th Cir. 2003); Godin v.
 15 Schencks, 2010 U.S. App. LEXIS 25980 (1st Cir. Dec. 22, 2010).

 16        2.     IPW objects to the Interrogatories generally to the extent they exceed the
 17 scope of Rules 26 and 33 of the Federal Rules of Civil Procedure or the Local Rules

 18 of the United States District Court for the Central District of California.

 19        3.     IPW objects to the Interrogatories to the extent that they purport to
 20 demand information protected from disclosure by the attorney-client privilege, joint
 21 interest privilege, attorney work product doctrine or any other privileges or

 22 immunities provided by the rules of this Court, statute or agreement. Inadvertent
 23 disclosure of any information subject to any applicable privilege or doctrine is not

 24 intended to be and shall not operate as a waiver of any such privilege or doctrine, in
 25 whole or in part; nor is any such inadvertent disclosure intended to be, nor shall it
 26 constitute, a waiver of the right to object to any use of such information.

 27        4.     IPW objects to the Interrogatories to the extent that they seek
 28 information comprising or reflecting any trade secret or other confidential or

                                               1
                               DEFENDANT IPW, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT 57
                                           1029
Case 2:10-cv-03633-ODW-RZ          Document 500-10        Filed 10/10/12     Page 49 of 54 Page
                                        ID #:32610




  1 proprietary information of IPW or any other entity or person.

  2         5.    IPW objects to the Interrogatories to the extent that they seek
  3 information which is protected from disclosure by court order, or any privacy or
  4 similar rights of any person or entity.
  5         6.    IPW objects to the Interrogatories to the extent that they seek
  6 information and/or documents already in the possession of the propounding party on
  7 the grounds such interrogatories are unnecessary and unduly oppressive and

  8 burdensome.
  9         7.    IPW objects generally to the definitions of the terms “YOU” and
 10 “YOUR” as vague and ambiguous, overbroad and unduly burdensome. IPW will

 11 construe these terms to refer to IPW.

 12         8.    IPW objects to the Interrogatories to the extent that they are vague or
 13 indefinite with respect to the information sought, or are overbroad and unduly

 14 burdensome.
 15         9.    IPW objects to the Interrogatories to the extent that they seek
 16 information which is neither relevant to the subject matter of the pending litigation

 17 nor reasonably calculated to lead to the discovery of admissible evidence.

 18         10.   No incidental or implied admissions are intended by IPW’s responses to
 19 the Interrogatories. The supplying of any fact does not constitute an admission by
 20 IPW that such fact is relevant or admissible. The fact that IPW has responded to any
 21 interrogatory is not intended to be and shall not be construed as a waiver by IPW of

 22 all or any part of any objection to any interrogatory. IPW reserves until the time of
 23 trial all objections as to the relevance or admissibility of any facts provided in its

 24 answers to the Interrogatories.
 25         11.   The general and specific objections set forth herein are based on
 26 information now available to IPW and IPW reserves the right to revise, correct, add,

 27 clarify or supplement the general and specific objections and responses set forth
 28 herein.

                                                2
                                DEFENDANT IPW, LLC’S RESPONSE
                          TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT 57
                                           1030
Case 2:10-cv-03633-ODW-RZ         Document 500-10        Filed 10/10/12    Page 50 of 54 Page
                                       ID #:32611




  1                                            II.
  2                       RESPONSES TO INTERROGATORIES
  3        Subject to, and without waiving the General Objections and qualifications
  4 above, IPW responds to each individual Interrogatory as follows:
  5 Interrogatory No. 1

  6        DESCRIBE in detail all efforts YOU have made to MARKET any rights
  7 involving SUPERMAN and/or SUPERBOY.

  8 Response to Interrogatory No. 1
  9        IPW objects to this interrogatory on the grounds that it is overbroad,
 10 burdensome and oppressive. IPW further objects to this request on the grounds that it

 11 is not reasonably limited in scope. IPW objects to this request to the extent that it

 12 seeks information which is not reasonably calculated to lead to the discovery of

 13 relevant and admissible evidence. IPW additionally objects to this request to the

 14 extent that it seeks communications or items protected by the attorney-client
 15 privilege, the attorney work product doctrine and any other privilege or immunity

 16 available under law or arising from contractual obligation. Subject to and without

 17 waiving the foregoing general and specific objections, IPW responds, without

 18 limitation, as follows:

 19        None.
 20 Interrogatory No. 2
 21        IDENTIFY any PERSONS with whom YOU have COMMUNICATED in
 22 connection with efforts to MARKET any rights involving SUPERMAN and/or
 23 SUPERBOY.

 24 Response to Interrogatory No. 2
 25        IPW objects to this interrogatory on the grounds that it is overbroad,
 26 burdensome and oppressive. IPW further objects to this request on the grounds that it

 27 is not reasonably limited in scope. IPW objects to this request to the extent that it
 28 seeks information which is not reasonably calculated to lead to the discovery of

                                               3
                               DEFENDANT IPW, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT 57
                                           1031
Case 2:10-cv-03633-ODW-RZ         Document 500-10        Filed 10/10/12    Page 51 of 54 Page
                                       ID #:32612




  1 relevant and admissible evidence. IPW additionally objects to this request to the

  2 extent that it seeks communications or items protected by the attorney-client

  3 privilege, the attorney work product doctrine and any other privilege or immunity
  4 available under law or arising from contractual obligation. Subject to and without
  5 waiving the foregoing general and specific objections, IPW responds, without

  6 limitation, as follows:
  7        None.
  8 Interrogatory No. 3
  9        DESCRIBE in detail when any efforts YOU have made to MARKET any
 10 rights involving SUPERMAN and/or SUPERBOY took place.

 11 Response to Interrogatory No. 3

 12        IPW objects to this interrogatory on the grounds that it is overbroad,
 13 burdensome and oppressive. IPW further objects to this request on the grounds that it

 14 is not reasonably limited in scope. IPW objects to this request to the extent that it
 15 seeks information which is not reasonably calculated to lead to the discovery of

 16 relevant and admissible evidence. IPW additionally objects to this request to the

 17 extent that it seeks communications or items protected by the attorney-client

 18 privilege, the attorney work product doctrine and any other privilege or immunity

 19 available under law or arising from contractual obligation. Subject to and without
 20 waiving the foregoing general and specific objections, IPW responds, without
 21 limitation, as follows:

 22        None.
 23 Interrogatory No. 4

 24        DESCRIBE in detail all COMMUNICATIONS YOU have had with actual or
 25 potential INVESTORS concerning rights involving SUPERMAN and/or
 26 SUPERBOY.

 27 Response to Interrogatory No. 4
 28        IPW objects to this interrogatory on the grounds that it is overbroad,

                                               4
                               DEFENDANT IPW, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT 57
                                           1032
Case 2:10-cv-03633-ODW-RZ         Document 500-10        Filed 10/10/12    Page 52 of 54 Page
                                       ID #:32613




  1 burdensome and oppressive. IPW further objects to this request on the grounds that it

  2 is not reasonably limited in scope. IPW objects to this request to the extent that it

  3 seeks information which is not reasonably calculated to lead to the discovery of
  4 relevant and admissible evidence. IPW additionally objects to this request to the
  5 extent that it seeks communications or items protected by the attorney-client

  6 privilege, the attorney work product doctrine and any other privilege or immunity
  7 available under law or arising from contractual obligation. Subject to and without

  8 waiving the foregoing general and specific objections, IPW responds, without
  9 limitation, as follows:

 10        None.
 11 Interrogatory No. 5

 12        IDENTIFY any PERSON with whom YOU have COMMUNICATED
 13 concerning actual and/or potential INVESTORS in rights involving SUPERMAN

 14 and/or SUPERBOY.
 15 Response to Interrogatory No. 5

 16        IPW objects to this interrogatory on the grounds that it is overbroad,
 17 burdensome and oppressive. IPW further objects to this request on the grounds that it

 18 is not reasonably limited in scope. IPW objects to this request to the extent that it

 19 seeks information which is not reasonably calculated to lead to the discovery of
 20 relevant and admissible evidence. IPW additionally objects to this request to the
 21 extent that it seeks communications or items protected by the attorney-client

 22 privilege, the attorney work product doctrine and any other privilege or immunity
 23 available under law or arising from contractual obligation. Subject to and without

 24 waiving the foregoing general and specific objections, IPW responds, without
 25 limitation, as follows:
 26        None.
 27 Interrogatory No. 6
 28        DESCRIBE in detail when YOU have COMMUNICATED with actual or

                                               5
                               DEFENDANT IPW, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT 57
                                           1033
Case 2:10-cv-03633-ODW-RZ         Document 500-10        Filed 10/10/12    Page 53 of 54 Page
                                       ID #:32614




  1 potential INVESTORS concerning rights involving SUPERMAN and/or

  2 SUPERBOY.

  3 Response to Interrogatory No. 6
  4        IPW objects to this interrogatory on the grounds that it is overbroad,
  5 burdensome and oppressive. IPW further objects to this request on the grounds that it

  6 is not reasonably limited in scope. IPW objects to this request to the extent that it
  7 seeks information which is not reasonably calculated to lead to the discovery of

  8 relevant and admissible evidence. IPW additionally objects to this request to the
  9 extent that it seeks communications or items protected by the attorney-client

 10 privilege, the attorney work product doctrine and any other privilege or immunity

 11 available under law or arising from contractual obligation. Subject to and without

 12 waiving the foregoing general and specific objections, IPW responds, without

 13 limitation, as follows:

 14        None.
 15   Dated: August 1, 2011               KENDALL BRILL & KLIEGER LLP
 16
                                          /s/ Nicholas F. Daum
 17
                                          Nicholas F. Daum
 18
                                          Attorneys for Defendants Marc Toberoff,
 19
                                          Pacific Pictures Corporation, IP
 20                                       Worldwide, LLC, and IPW, LLC
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                                               6
                               DEFENDANT IPW, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT 57
                                           1034
Case 2:10-cv-03633-ODW-RZ         Document 500-10        Filed 10/10/12     Page 54 of 54 Page
                                       ID #:32615




  1                                     VERIFICATION
  2         I declare under penalty of perjury that on information and belief the facts set
  3 forth in the foregoing answers to the Interrogatories are true to the best of my present
  4 knowledge and belief.
  5
      DATED: August 1, 2011
  6
  7
      Marc Toberoff
      Print Name of Signatory                         Signature
  8
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                               DEFENDANT IPW, LLC’S RESPONSE
                         TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                         EXHIBIT 57
                                           1035
